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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

                                                   :
Iris Froemmling,                                   :
                                                   :
                                                   :
                       Plaintiff,                  : Civil Action No.: ______
        v.                                         :
                                                   :
GC Services, LP,                                   :
                                                   :
                       Defendant.                  :
                                                   :



                                          COMPLAINT

        For this Complaint, the Plaintiff, Iris Froemmling, by undersigned counsel, states as

follows:

                                         JURISDICTION

        1.     This action arises out of Defendant’s repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of Plaintiff’s

personal privacy by the Defendant and its agents in their illegal efforts to collect a consumer

debt.

        2.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that Defendant

transacts business here and a substantial portion of the acts giving rise to this action occurred

here.

                                             PARTIES

        3.     Plaintiff, Iris Froemmling (hereinafter “Plaintiff”), is an adult individual residing

at 96954 Gowman Lane #4 Brookings, OR 97415, and is a “consumer” as the term is defined by
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15 U.S.C. § 1692a(3).

       4.      Defendant GC Services, LP (hereinafter “Defendant”), is a Texas limited

partnership with an address of 6330 Gulfton St., Houston, TX 77081, operating as a collection

agency, and is a “debt collector” as the term is defined by 15 U.S.C. § 1692a(6).

       5.      The names of the individual collectors are unknown but they will be added by

amendment when determined through discovery.

                                      FACTUAL ALLEGATIONS

       6.      Plaintiff incurred a financial obligation that was primarily for family, personal or

household purposes, and which meets the definition of a “debt” under 15 U.S.C. § 1692a(5).

       7.      Thereafter, the debt was purchased, assigned or transferred to Defendant for

collection from Plaintiff.

       8.      The Defendant then began attempts to collect this debt from the Plaintiff, which

was a “communication” as defined in 15 U.S.C. § 1692a(2).

       9.      The Defendant called the Plaintiff’s sister.

       10.     When calling the Plaintiff’s sister, the Defendant represented himself to be from

the Social Security office and asked to deliver a message to the Plaintiff.

       11.     The Defendant was unpleasant and abusive when speaking to Plaintiff’s sister.

       12.     The Plaintiff has suffered actual damages as a result of these illegal collection

communications in the form of humiliation, anger, anxiety, emotional distress, fear, frustration,

embarrassment, amongst other negative emotions, as well as suffering from unjustified and

abusive invasions of personal privacy at the Plaintiff’s home.




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                                            COUNT I

         VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                           15 U.S.C. § 1692, et seq.
       13.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

       14.     The Defendant contacted third parties and failed to identify themselves and

further failed to confirm or correct location information, in violation of 15 U.S.C. § 1692b(1).

       15.     The Defendant informed third parties of the nature of Plaintiff’s debt and stated

that the Plaintiff owed a debt, in violation of 15 U.S.C. § 1692b(2).

       16.     The Defendant contacted third parties in regards to the Plaintiff’s debt on

numerous occasions, without being asked to do so, in violation of 15 U.S.C. § 1692b(3).

       17.     The Defendant used profane and abusive language when speaking with the

consumer, in violation of 15 U.S.C. § 1692d(2).

       18.     The Defendant placed calls to the Plaintiff without disclosing the identity of the

debt collection agency, in violation of 15 U.S.C. § 1692d(6).

       19.     The Defendant falsely represented to the Plaintiff that it was affiliated with the

United States or a government entity, in violation of 15 U.S.C. § 1692e(1).

       20.     The foregoing acts and omissions of the Defendant constitute numerous and

multiple violations of the FDCPA, including every one of the above-cited provisions.

       21.     The Plaintiff is entitled to damages as a result of Defendant’s violations.




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                                            COUNT II
                VIOLATIONS OF THE TEXAS DEBT COLLECTION ACT
                         TEX. FIN. CODE ANN. § 392, et al.
       22.      Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

       23.      The Plaintiff is a “consumer” as defined by Tex. Fin. Code Ann. § 392.001(1).

       24.      The Defendant is a “debt collector” and a “third party debt collector” as defined

by Tex. Fin. Code Ann. § 392.001(6) and (7).

       25.      The Defendant used abusive and profane language when speaking with the

Plaintiff, in violation of Tex. Fin. Code Ann. § 392.302(1).

       26.      The Defendant called the Plaintiff and failed to identify the name of the debt

collection agency or the individual debt collector, with the intent to annoy and harass, in

violation of Tex. Fin. Code Ann. § 392.302(2).

       27.      The Defendant used a name other than that of its business, in violation of Tex.

Fin. Code Ann. § 392.304(a)(1)(A).

       28.      The Defendant failed to maintain a list of business and professional names

formerly or currently used in collection of debt, in violation of Tex. Fin. Code Ann.

§ 392.304(2).

       29.      The Defendant failed to clearly disclose the name of the debt collector or debt

collection agency when making a demand for money from the Plaintiff, in violation of Tex. Fin.

Code Ann. § 392.304(4).

       30.      The Plaintiff is entitled to injunctive relief and actual damages pursuant to Tex.


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Fin. Code Ann. § 392.403(a)(1) and (2) and to remedies under Tex. Bus. & Comm. Code

§ 17.62 pursuant to Tex. Fin. Code Ann. § 392.404(a).

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that judgment be entered against Defendant:

                  1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against Defendant;

                  2. Statutory damages of $1,000.00 for each violation pursuant to 15 U.S.C.

                       § 1692k(a)(2)(A) against Defendant;

                  3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.

                       § 1692k(a)(3) against Defendant;

                  4. Injunctive relief pursuant to Tex. Fin. Code Ann. § 392.403(a)(1);

                  5. Actual damages pursuant to Tex. Fin. Code Ann. § 392.403(a)(2);

                  6.   Remedies under Tex. Bus. & Comm. Code § 17.62 pursuant to Tex. Fin.

                       Code Ann. § 392.404(a);

                  7. Actual damages from Defendant for the all damages including emotional

                       distress suffered as a result of the intentional, reckless, and/or negligent

                       FDCPA violations and intentional, reckless, and/or negligent invasions of

                       privacy in an amount to be determined at trial for Plaintiff;




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                 8. Punitive damage; and

                 9. Such other and further relief as may be just and proper.

                      TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: June 1, 2009

                                            Respectfully submitted,

                                            By _/s/ Allecia Pottinger_______

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